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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                            OAKLAND DIVISION


 EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR-TSH
                  Plaintiff, Counter-defendant,
                       v.
 APPLE INC.,                                        OBJECTIONS TO SPECIAL MASTER
                  Defendant, Counterclaimant.       DETERMINATIONS ISSUED APRIL 3
                                                    AND 4, 2025, REGARDING APPLE’S
                                                    WITHHELD DOCUMENTS



The Honorable Thomas S. Hixson
San Francisco Courthouse
Courtroom E - 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Magistrate Judge Hixson,
        Pursuant to Section 4 of the Joint Stipulation and Order Approving Privilege Re-
Review Protocol (Dkt. 1092) (the “Protocol”), Epic respectfully submits the following
Objections to certain of the Special Masters’ privilege determinations issued on April 3
and 4, 2025, and pertaining to documents Apple seeks to withhold in their entirety.
        Epic recognizes the significant burden of these objections and is sensitive to the
Court’s observation regarding the diminishing utility of similar or duplicative documents
following the completion of the evidentiary hearings. Epic is therefore limiting its
objections below to documents that it believes may meaningfully supplement the already
extensive record established at the hearings.
        Epic, of course, does not have access to the documents and is therefore unable to
fully assess the utility of the documents or the bases on which Apple claims privilege; it
makes its utility judgments and predicates its objections on the limited information
provided in Apple’s privilege logs for the documents and their families.
      Epic respectfully requests that the Court review the following documents in
camera and, where appropriate, reject Apple’s privilege assertions pertaining to these
documents, in whole or in part.
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Employee Chat Channel (Entry No. 2655)

         Entry No. 2655 (PRIV-APL-EG_00098239) is an employee chat regarding the
“engineering” of Apple’s compliance program in the Netherlands. Based on the privilege
log, it is unclear which Apple employees are on the chat other than its custodian, Atusa
Savio (a senior engineering program manager) and Ling Lew, Apple in-house counsel.
This three-page document regarding a business-related topic likely does not consist
entirely of legal advice or requests for the same. Therefore, Epic believes it unlikely that
the entire document is privileged. To the extent any legal advice is included or requested,
it could be redacted.

Email about Wisconsin (Entry No. 2678)

        Entry No. 2678 (PRIV-APL-EG_00098448) is an email from Jeff Guebert, Senior
Program Manager Lead, to Ms. Lew, copying a copywriter, an engineering program
manager and a program management leader. The email is titled “Wisconsin Post-Launch
Reporting”, apparently relating to Apple’s decision to require developers to report their
web sales through linked purchases to Apple. (The document is dated June 2023—right
around the time Apple considered and then decided to impose a fee on purchases that
occur after a user clicks on an in-app link.) Based on the email’s sender, copied
employees and subject, the email is likely business-focused. Apple’s privilege log states
that this email consists of questions to Ms. Lew regarding “reporting on” Injunction
compliance, but such questions are likely not requests for legal advice, at least not in
their entirety. To the extent any legal advice is in fact included or requested in the email
chain, it could be redacted.

Email about Scare Screens (Entry No. 2681)

        Entry No. 2681 (PRIV-APL-EG_00098458) is an email from Monica Gromek,
Design Leadership, to Sean Cameron, Apple in-house counsel. A dozen Apple
employees are copied, a vast majority of whom are design managers, business managers
or copywriters, including evidentiary hearing Apple witness Raf Onak. The title of the
email is “Wisconsin consumer warning sheet -- new title text”. The content of and
rationale for the scare screens following the Injunction (or the “Wisconsin” “warning
sheet[s]”) is a key issue in this contempt action, and Mr. Onak testified on this topic in
February 2025. (See, e.g., Feb. 24, 2025, Hr’g Tr. 1328-29, 1333-35, 1337-44.) Apple’s
privilege log describes this email as “from in-house counsel . . . requesting assistance in
preparing slides for legal presentation on potential user interface options”. But the design
of the scare screens is primarily a business issue, not a legal one, and in any event Apple
does not argue that this email chain contains legal advice or a request for legal advice.
Accordingly, this document should not be completely withheld.

Email Among Press Personnel (Entry No. 3510)

       Entry No. 3510 (PRIV-APL-EG_00186407) is an email from Fred Sainz, former
Senior Director of Corporate Communications, to Marni Goldberg, Apple witness and
press employee, copying Hannah Smith, another Apple press and communications
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employee. The email title is “Epic statements [and] escalation email for Phil”,
presumably referencing key Apple witness Phil Schiller. Apple’s privilege description
states that this email “provid[es] information for the purpose of obtaining legal advice
from counsel regarding foreign regulatory issues press and communications legal
strategy”. But at least the top email is only among press and communications personnel
at Apple. Further, an “escalation email” for Mr. Schiller, a non-lawyer business
executive, cannot provide information for the purpose of obtaining legal advice because
Mr. Schiller cannot provide any legal advice. Based on the privilege log, then, it does not
appear proper for this document to be withheld—at least not in its entirety. (The
privilege log does not disclose any details about emails that may be lower in the chain,
making it impossible for Epic to know if they exist and, if so, whether they are the
subject of a legitimate privilege assertion).

Email Involving an Economist (Entry No. 12637)

        Entry No. 12637 (PRIV-APL-EG_00279027) is an email from Eric Albert, Senior
Director of Services Special Programs, to Jeff Wilder, a non-lawyer economist at Apple,
and other in-house and outside counsel for Apple. The email title is “Additional thoughts
on linking out - economics this time”. Linking out and linked purchases are key issues in
the contempt proceedings, and Apple’s internal assessment of the “economics” of
“linking out” is highly relevant to understanding its Injunction-response efforts. Based
on the sender of the top email and the title of the email chain, this document appears to be
business-related, at least in part. Therefore, it does not appear proper for this document
to be withheld in its entirety.

Non-Legal Presentations (Entry Nos. 12803 and 12894)

        Entry No. 12803 (PRIV-APL-EG_00281055) is an “Update” for “TC”—
presumably, Tim Cook—about Apple’s efforts surrounding the Digital Markets Act, or
DMA. The custodian of this deck is Mr. Wilder. Apple claims attorney-client privilege
over this deck (see column “Privilege Type”).1 Apple argues that the document is
“related to information for the purpose of rendering legal advice”, but Apple does not
state that the deck actually provides information for the purpose of such advice (or
discloses the request for or such advice). And the cover email title and deck title indicate
that this deck is primarily—if not almost entirely—business-focused. Therefore, it does
not appear proper for this document to be completely withheld. To the extent any legal
advice is included or requested, it could be redacted.

        Entry No. 12894 (PRIV-APL-EG_00285930) is a presentation deck from
December 2023 (based on both its title and metadata) about the “new model [and] link
outs”, apparently to be presented to the European Commission. The custodian of the
document is Mr. Wilder. The cover email was produced to Epic without redaction
(attached herein as Exhibit A to the Even Declaration), showing that this deck was sent

     1
        Apple’s privilege description states that the deck “was prepared in anticipation or furtherance of
litigation”. However, this does not preserve a claim of work product protection and any attempt by Apple
to do so now should be rejected. (See, e.g., Dkt. 1139.)
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from Mr. Wilder to Sean Dillon, Apple in-house counsel, stating that Mr. Dillon should
“check out the animations” in the presentation. Apple only claims work product
protection over this deck. However, Apple fails to identify in its privilege log which
litigation this deck was supposedly “prepared in anticipation or furtherance of”.
Moreover, the document title indicates that this document was intended to be presented
(and by now presumably has been presented) to the European Commission—and work
product protections do not apply to material that is shared with an adversary to the
supposed litigation. Therefore, it does not appear proper for this document to be
withheld.



 DATED: April 9, 2025                        CRAVATH, SWAINE & MOORE LLP
                                             By: /s/ Yonatan Even
                                             Counsel for Plaintiff Epic Games, Inc.
